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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS

Robert Fischer, Stephanie Lukis,    )
and Tiffany Adams,                  )
individually and on behalf of all others
                                    )     CIVIL ACTION NO: 19-cv-4892
similarly situated,                 )
                                    )
              Plaintiffs,           )     JUDGE FEINERMAN
v.                                  )
                                    )     MAG. WEISMAN
Instant Checkmate LLC,              )
                                    )
              Defendant.            )
_____________________________________________________________________________

                   DECLARATION OF WILLIAM BEAUMONT
_____________________________________________________________________________

       William Beaumont, Esq. declares as follows:

       1.      I am one of the attorneys for the Plaintiffs in the above-captioned matter and I

submit this declaration in support of Plaintiffs’ Motion for Class Certification. Except as otherwise

noted, I have personal knowledge of the facts set forth in this declaration and could testify

competently to them if called upon to do so.

       2.      Pursuant to the parties’ agreement in open court on February 26, 2021, I conducted

an inspection of Instant Checkmate’s website, instantcheckmate.com, (hereinafter the “Website”)

on March 15, 2021.

       3.      Attached as Exhibit 1 to this declaration is a true and accurate copy of search results

I obtained when I entered the name “Tiffany Adams” into the search bar on the Website.

       4.      Attached as Exhibit 2 to this declaration is a true and accurate copy of search results

I obtained when I entered the name “Stephanie Lukis” into the search bar on the Website.

       5.      Attached as Exhibit 3 to this declaration is a true and accurate copy of search results

I obtained when I entered the name “Robert Harper” into the search bar on the Website.

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       6.      Attached as Exhibit 4 to this declaration, Plaintiffs’ Bates No. 510, is a true and

accurate copy of SEO Directory listings available on the Website when I searched for the name

“Tiffany Adams” and “in Illinois” in the SEO Directory portion of the Website.

       7.      Attached as Exhibit 5 to this declaration is a true and accurate copy of SEO

Directory listings available on the Website when I searched for the name “Stephanie Lukis” and

no accompanying location in the SEO Directory portion of the Website.

       8.      Plaintiffs are moving for class certification after conducting discovery in this matter

for roughly 9 months. There is sufficient evidentiary support in Plaintiffs class certification motion

based on this discovery, which has included six depositions and detailed written discovery.

       9.      Litigation in this case has been extensive. Including Plaintiffs’ Motion for Class

Certification, there have been at least 11 contested motions filed by the parties.

       10.     Litigation costs to my firm for this case are roughly $8,000.

       11.     My co-counsel Roberto Costales and I are the partners of our firm, Beaumont

Costales LLC. We have been in practice together for approximately ten years and have offices in

Chicago, Illinois and New Orleans, Louisiana.

       12.     Mr. Costales and I have been named lead class counsel in more than twenty other

collective and class action cases, including but not limited to: Goldschmidt v. Rack Room Shoes,

Inc., Case No. 18-CV-21220 (S.D. Fl. Jan. 15, 2020); De La Rosa v. Collision Damage Experts

Group, LLC Case No. 17-CH-14760 (Cir. Ct. Cook County 2020); Maldonado v. New Orleans

Millworks, LLC, Case No. 17-CV-1015 (E.D. La. Mar. 14, 2018); Nieto v. Pizzati Enterprises,

Inc., Case No. 16-CV-5352, (E.D. La. Mar. 28, 2017); Murillo v. Coryell Cnty. Tradesmen, LLC,

Case No. 15-CV-3641 (E.D. La. Sept. 21, 2016); Calix v. Ashton Marine LLC, Case No. 14-CV-




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2430 (E.D. La. March 25, 2015); Esparza v. Kostmayer Construction, Case No. 15-CV-4644 (E.D.

La. July 1, 2016); Leon v Diversified Concrete, Case No. 15-CV-6301 (E.D. La. Oct. 26, 2016).

                                              ***
       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

           Executed in New Orleans, Louisiana on May 14, 2021.


                                                    /s/ William Beaumont




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                        Exhibit 1
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                        Exhibit 2
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                                                                                   Pl.'s Bates No. 000509
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                        Exhibit 3
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                        Exhibit 4
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                                                                                    Pl.'s Bates No. 000510
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                        Exhibit 5
                    to the Declaration of William Beaumont
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